JAMES H. SILCOX, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Silcox v. CommissionerDocket No. 13802.United States Board of Tax Appeals12 B.T.A. 748; 1928 BTA LEXIS 3456; June 22, 1928, Promulgated *3456 Held, under the facts, that the respondent correctly determined the petitioner's tax liability on a fiscal year basis.  J. C. Peacock, Esq., for the petitioner.  J. E. Marshall, Esq., for the respondent.  TRAMMELL*748  This is a proceeding for the redetermination of a deficiency in income tax for 1920 in the amount of $14,762.28.  The deficiency arises from the action of the respondent in determining the taxable income upon the fiscal year basis instead of the calendar year basis as returned by the petitioner.  FINDINGS OF FACT.  The petitioner is an individual residing in Charleston, S.C.  He has been engaged since September 1, 1918, in the business of buying and selling cotton under the name of James H. Silcox &amp; Co.  Prior to September 1, 1919, the business was conducted by a corporation.  From September 1, 1919, to December 31, 1919, it was operated by the petitioner as sole proprietor.  From January 1, 1920, to August 31, 1920, it was operated as a partnership, and again from September 1, 1920, to December 31, 1920, it was operated by the petitioner as sole proprietor.  One continuous set of books was kept for the business from its*3457  beginning in 1919, regardless of whether the business was carried on by the petitioner as an individual, as a corporation or as a partnership.  The accounts on the ledger were ruled down on August 31, 1919, and again on August 31, 1920, and the determination of income was made upon the basis of the closing of the books at those periods.  The petitioner had other income from sources not connected with the above business and with respect to which he kept no books and established no annual accounting period.  The books of the partnership did not contain any records of the petitioner's personal transactions or income but merely contained the records of the cotton business.  During the period involved he received interest on mortgages and income from a fee for settling an estate.  The books maintained for the cotton business included a purchase and sales book which was in the form of a perpetual inventory showing the quantity of cotton on hand at the close of any day and which was the only inventory taken.  The inventory was valued at the close of each month for the purpose of reports required by insurance companies.  As of the last day of any month the income of the business for the*3458  period of twelve months ending on that day *749  could be clearly and correctly determined.  The rulings down on the books on August 31, 1919, and August 31, 1920, were made by a bookkeeper without instructions or objections from the petitioner.  The petitioner since 1917 has always filed his income-tax returns on a calendar year basis.  The proposed deficiency is based upon the ground that the petitioner's income should be returned and the tax paid on the basis of a fiscal year ending August 31, 1920.  There is no controversy with respect to the amount of net income received and there will be no deficiency if the petitioner was entitled to report his income on the calendar year basis.  OPINION.  TRAMMELL: The question to be decided here is whether the petitioner correctly reported his income upon a calendar year basis or whether, as determined by the respondent, he should have reported it upon a fiscal year basis.  We think from all the evidence that the books of the cotton business operated by the partnership of which the petitioner was a member and by the petitioner were closed upon a fiscal year basis and that that business had established an accounting system upon*3459  a fiscal year basis.  This is indicated by the fact that the books were ruled down on August 31 of each year and the determination of profits was arrived at on that basis.  During the taxable year the petitioner operated this business as an individual from September 1, 1920, to December 31, 1920.  From September, 1919, to December 31, 1919, the business was also operated by the petitioner as an individual.  The only books kept by the petitioner were on the fiscal year basis.  Income of the petitioner, however, from interest on mortgages and a fee for settling an estate were not entered in any book.  The mere fact that certain income from a source other than petitioner's principal business was not recorded in his books is not sufficient reason for holding that a different basis should be used in reporting that income.  We can not hold that the petitioner did not keep any books because the fact is that he did.  The authorities cited by the petitioner with respect to individual members of partnerships reporting their income upon one basis when the partnership maintained its books on another basis, are not in point.  Here the petitioner, during a substantial part of the taxable year, *3460  operated the business as an individual and kept his books upon a fiscal year basis.  An individual can not report his income both upon a fiscal year basis and a calendar year basis.  It must be one or the other.  Since the only books kept by the petitioner were upon a fiscal year basis, all of his income should have been reported upon that basis.  Reviewed by the Board.  Judgment will be entered under Rule 50.